              Case 1:16-cr-00006-ELR-AJB Document 364 Filed 08/26/16 Page 1 of 3




                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

             UNITED STATES OF AMERICA                       )
                                                            )     CRIMINAL ACTION FILE
                   v.                                       )
                                                            )     NO. 1:16-CR-006-07-ELR/AJB
             GUSTAVO ADOLPHO RAMIREZ-                       )
             REYES,                                         )
                                                            )
                                 Defendant.                 )

                               UNITED STATES MAGISTRATE JUDGE’S
                              FINAL REPORT AND RECOMMENDATION

                   Before the Court is Defendant Gustavo Adolpho Ramirez-Reyes’s motion to

             suppress geo-location evidence, [Doc. 261]. For the following reasons, the undersigned

             RECOMMENDS that the motion be DENIED.

                   In his motion, Ramirez seeks to suppress the fruits of the collection by the

             Government of historical cell site data about his cell phone, which data was obtained

             by a court order, as opposed to by search warrant supported by probable

             cause. [Id. at 2]. Ramirez recognizes that in United States v. Davis, 785 F.3d 498

             (11th Cir. 2015) (en banc), the Eleventh Circuit held that law enforcement may obtain

             historical cell site data by way of a court order issued pursuant to 18 U.S.C. § 2703(d),

             and that the Government does not need to obtain a search warrant based on probable

             cause. [Doc. 261 at 2]; see also Davis, 785 F.3d at 511. He explains that he filed the




AO 72A
(Rev.8/82)
               Case 1:16-cr-00006-ELR-AJB Document 364 Filed 08/26/16 Page 2 of 3




             motion solely to preserve a challenge should the Supreme Court disagree with

             Davis. [Id. at 2].

                    This Court is bound to follow Davis. Cf. Tharpe v. Warden, --- F.3d ----, ----,

             No. 14-12464, 2016 WL 4479295, at *__ (11th Cir. Aug. 25, 2016) (recognizing that

             appellate panel and district court bound by en banc decision of Court of Appeals).

             Therefore, Davis controls and the Government could obtain historical cell site data

             about Ramirez’s cell phone through a § 2703 order and did not need to obtain a search

             warrant to obtain this information.

                    In addition, Ramirez’s motion sought more time to further explore this issue,

             [Doc. 261 at 3], and at one of the pretrial conferences, the Court gave Defendant and

             his co-defendants until June 13, 2016 to file further motions or to perfect already-filed

             motions. [See Doc. 269]. No additional reasons were raised for suppressing the

             historical cell site data.

                    Accordingly, the undersigned RECOMMENDS that Ramirez’s motion to

             suppress geo-location data, [Doc. 261], be DENIED.

                    The Court has now ruled on matters related to Defendant Ramirez that have been

             referred to it. Accordingly, Defendant Ramirez’s case is CERTIFIED READY FOR

             TRIAL. However, since matters related to this Defendant’s co-defendants are still

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AO 72A
(Rev.8/82)
              Case 1:16-cr-00006-ELR-AJB Document 364 Filed 08/26/16 Page 3 of 3




             pending before the undersigned, it is not necessary to place this Defendant’s case on

             the trial calendar at this time.

                     IT IS SO RECOMMENDED and CERTIFIED, this 26th day of August ,

             2016.




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AO 72A
(Rev.8/82)
